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                                                                   FILO) IN        1I'        riLt

                                                                       NORTHERN DISTRICT,.
  Fill in this information to identify your case:

                                                                                                 3
                                                                                                     Check if this is:

  Debtor 2                                                                                               An amended filing              •
  (Spouse, if Sing) First Name
                                                                                                         A supplement showing postpetition chapter 13
  United States Bankruptcy Court for   e: Northern District of Georgia,,                                 expenses as of the following date:

  Case number
  (If known)
                            2-            3                                                              MM / DD / YYYY



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:           Describe Your Household

1. Is this a joint case?

   EI No. Go to line 2.
   U Yes. Does Debtor 2 live in a separate household?
               U No
               U Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  •    No
                                                                                   Dependent's relationship to                 Dependent's    Does dependent live
   Do not list Debtor 1 and                 U Yes. Fill out this information for   Debtor 1 or Debtor 2                        age            with you?
   Debtor 2.                                  each dependent
                                                                                                                                              O No
   Do not state the dependents'
   names.                                                                                                                                     O Yes

                                                                                                                                              LI   No
                                                                                                                                              CI   Yes

                                                                                                                                             ID    No
                                                                                                                                              LI   Yes

                                                                                                                                              D    No
                                                                                                                                              CI   Yes

                                                                                                                                              O No
                                                                                                                                              O Yes

3. Do your expenses include
                                                r No
   expenses of people other than
   yourself and your dependents?                 Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule ..I, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                            Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                  931.00
    any rent for the ground or lot.                                                                                      4.


      If not included in line 4:
      4a. Real estate taxes                                                                                              4a.     $                      0.00
      4b. Property, homeowner's, or renter's insurance                                                                   4b.                            0.00
      4c. Home maintenance, repair, and upkeep expenses                                                                  4c.     $                  10.00
      4d. Homeowner's association or condominium dues                                                                    4d.     $                 225.00

Official Form 106J                                              Schedule J: Your Expenses                                                               page 1
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Debtor 1       Zainab
                 First Name
                              Mansaray
                                Middle Nara       Last Name
                                                                                            Case number (K known)                  -67.311

                                                                                                                                         0.00
5. Additional mortgage payments for your residence, such as home equity loans                                       5.

6. Utilities:
      6a. Electricity, heat, natural gas                                                                            68.        $        80.00
      6b. Water, sewer, garbage collection                                                                          6b.        $        40.00
      Sc.   Telephone, cell phone, Internet, satellite, and cable services                                          6c.        $        95.00
      6d. Other. Specify:                                                                                           6d.        $         0.00

 I. Food and housekeeping supplies                                                                                  r.         $       280.00

 8. Childcare and children's education costs                                                                        B.         $         0.00
 9. Clothing, laundry, and dry cleaning                                                                             9.                  15.00
10. Personal care products and services                                                                             10. $               20.00
11. Medical and dental expenses                                                                                     11.        $        11.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                        60.00
    Do not include car payments.                                                                                    12.

                                                                                                                    13.        $         0.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books

14.   Charitable contributions and religious donations                                                              14.        $         0.00

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a, Life insurance                                                                                           15a.                 0.00
      15b. Health insurance                                                                                         15b.               221.00
      15e. Vehicle insurance                                                                                        15c.                 0.00
                                                                                                                    15d.                 0.00
      15d. Other insurance. Specify:


16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                    16.
                                                                                                                                         0.00
      Specify:

17. Installment or lease payments:
                                                                                                                     17a.                0.00
      17a. Car payments for Vehicle 1

       17b. Car payments for Vehicle 2                                                                               17b.                0.00
                                                                                                                     17c.                0.00
       17c. Other. Specify:
                                                                                                                     17d.
                                                                                                                                         0.00
       17d. Other. Specify:

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                                    18.   $         0.00

19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                           19    $         0.00

 20. Other real property expenses not Included in lines 4 or 5 of this form or on Schedule        Your Income.
                                                                                                                                          0.00
       20a. Mortgages on other property                                                                              20a.      $

       20b. Real estate taxes                                                                                        20b.      $          0.00
       20c, Property, homeowner's, or renter's insurance                                                             20c.      $          0.00

       20d. Maintenance, repair, and upkeep expenses                                                                 20d.      $          0.00

       20e, Homeowner's association or condominium dues                                                              20e.      $          0.00


Official Form 106J                                             Schedule .J: Your Expenses                                                 page 2
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                                                                                                                   22-        5   36    K
Debtor 1       Zainab        Mansaray                                                      Case number (ffknowo
               First Canto     Middle Name     Last Name




21. Other. Specify:                                                                                               21.    +$                 0.00

22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                              22a.                     1,752.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.                          0.00
    22c.Add line 22a and 22b. The result is your monthly expenses.                                            22c.                     1,752.00


23. Calculate your monthly net income.
                                                                                                                          $            1,752.00
   23a.    Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

   23b.    Copy your monthly expenses from line 22c above.                                                        23b.    $            1,752.00

   23c. Subtract your monthly expenses from your monthly income.
                                                                                                                                            0.00
        The result is your monthly net income.                                                                    23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

   For example, do you expect to finish paying for your car loan within the year or do you expect your
   mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

        No.
   CI   Yes.      Explain here:




Official Form 106J                                          Schedule J Your Expenses                                                        page 3
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 Fill in this information to identify your case:                                                        Check one box only as directed in this form and in
                                                                                                        Form 122A-1Supp:
 Debtor 1         Zainab          Mansaray
                    First Name               Middle Name                Last Name
                                                                                                              1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name              Middle Name                Last Name                       O 2. The calculation to determine if a presumption of
                                                                                                             abuse applies will be made under Chapter?
 United States Bankruptcy Court for the: Northern District of Georgia
                                                                                      El                     Means Test Calculation (Official Form 122A-2).

 Case numbqp2/24615-                                                                                    U 3. The Means Test does not apply now because of
 (If known')                                                                                                 qualified military service but it could apply later.


                                                                                                        O Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.


all              Calculate Your Current Monthly Income

i I. What is your marital and filing status? Check one only.
      El Not man-led. Fill out Column A: lines 2-11.
      [3 Married and your Spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      Li Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                   under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                   spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. §707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11              § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result, Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      Income from that property In one column only, If you have nothing to report for any line, write $0 In the space.
                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).                                                                     $ 1,330.00            S

  3. Alimony and maintenance payments. Do not include payments from a spouse if                                      0.00
     Column B is filled in.
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.
                                                                                                          $       915.00
  S. Net income from operating a business, profession,
                                                                    Debtor 1         Debtor 2
     or farm
     Gross receipts (before all deductions)
       Ordinary and necessary operating expenses                    —S               —$
                                                                                                Copy
       Net monthly income from a business, profession, or farm           $    0.00 $            here+     5
                                                                                                                     0.00

  6. Net income from rental and other real property                 Debtor 1         Debtor 2
     Gross receipts (before all deductions)                          $                $
       Ordinary and necessary operating expenses                    —$               —$
                                                                                                Copy
       Net monthly income from rental or other real property             $    0.00    $         here      $          0.00       $
  7. Interest, dividends, and royalties                                                                              0.00


Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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Debtor 1      Zainab          Mansaray                                                         Case number of known)
              First Name          Middle Name        Last Name



                                                                                                  Column A                Column 8
                                                                                                  Debtor 1                Debtor 2 or
                                                                                                                          non-filing spouse
 8. Unemployment compensation                                                                                 0.00
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here.
       For you
       For your spouse

 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                    0.00
 10.Income from all other sources not listed above. Specify the source and amount.
    Do not include any benefits received under the Social Security Act or payments received
    as a victim of a war crime, a crime against humanity, or international or domestic
    terrorism. If necessary, list other sources on a separate page and put the total below.

                                                                                                     $         0.00         $
                                                                                                     $         0.00         $
      Total amounts from separate pages, if any.                                                  +$                      +$

 11.Calculate your total current monthly income. Add lines 2 through 10 for each
    column. Then add the total for Column A to the total for Columr B.                               $ 2,245.00
                                                                                                                       +[                          $ 2,245.00
                                                                                                                                                   Total current
                                                                                                                                                   monthly income

             Determine Whether the Means Test Applies to You
Offi
 12. Calculate your current monthly income for the year. Follow these steps:
     12a. Copy your total current monthly Income from line 11.                                                        Copy line 11 here+ I     $    2 245.00 1
           Multiply by 12 (the number of months in a year).                                                                                    x 12
     12b. The result is your annual income for this part of the form.                                                                12b. I    $ 26 940.00 '

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.

     Fill in the number of people in your household.

     Fill in the median family income for your state and size of household.                                                          13.
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.
  14. How d the lines compare?

     14a.LI Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
            Go to Part 3.

     14b.U     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
               Go to Par 3 and fill out Form 122A-2,

               Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


              x                           dy7c674,0917
                   Signature of Debtor 1                                                      Signature of Debtor 2

                  Date                                                                        Date
                           MM I             YYY                                                      MM/ DD /YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.
                                        —

 Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                 page 2
